 Fill in this information to identify the case:
 Debtor 1    Christopher John Standerwick

 Debtor 2    Crystal Dawn Preston-Standerwick
             aka Crystal Dawn Preston
             aka Crystal Dawn Standerwick

 (Spouse, if filing)

 United States Bankruptcy Court for the EASTERN District of MICHIGAN

 Case number 17-57688-tjt

Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                   12/15
If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor: WILMINGTON SAVINGS FUND SOCIETY,                                Court claim no. (if known): 23
FSB, D/B/A CHRISTIANA TRUST, NOT INDIVIDUALLY BUT AS
TRUSTEE FOR HILLDALE TRUST
Last 4 digits of any number you use to                                            Date of payment change: 7/1/2019
identify the debtor’s account: 1008                                               Must be at least 21 days after date
                                                                                  of this notice

                                                                                  New total payment: $1,257.32
                                                                                  Principal, interest, and escrow, if any

 Part 1:       Escrow Account Payment Adjustment

 1.      Will there be a change in the debtor’s escrow account payment?

         □ No.
         ■ Yes.         Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                        the basis for the change. If a statement is not attached, explain why:
                        ________________________________________________________________________________________________________
                        ____________________________________

         Current escrow payment: $442.12                               New escrow payment: $424.02


 Part 2:       Mortgage Payment Adjustment

 2.      Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
          variable-rate account?

         ■ No
         □ Yes.        Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
                         explain why:
                         _______________________________________________________________________________________________________
                         __________________________________________________________________________________

         Current interest rate:                                    New interest rate:

         Current principal and interest payment:           New principal and interest payment:


 Part 3:       Other Payment Change

 3.      Will there be a change in the debtor's mortgage payment for a reason not listed above?

         ■ No
         □ Yes         Attach a copy of any document describing the basis for the change, such as a repayment plan or loan modification agreement.
                       (Court approval may be required before the payment change can take effect.)

                       Reason for change: ________________________________________________________________________________

         Current mortgage payment                           New mortgage payment:



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Debtor 1 Christopher John Standerwick                                  Case number (if known) 17-57688-tjt
           Print Name        Middle Name    Last Name




 Part 4:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

 Check the appropriate box.
      □ I am the creditor
      ■ I am the creditor’s authorized agent.

 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.

     /s/ Paul Crockett                             Date _06/05/2019
     Signature



  Print             _Paul Crockett                                                                           Title   Authorized Agent for Creditor
                    First Name                     Middle Name        Last Name


  Company           RAS Crane, LLC


  Address           10700 Abbott's Bridge Road, Suite 170
                    Number       Street


                    Duluth GA 30097
                    City                                                   State         ZIP Code

  Contact Phone     470-321-7112                                                                             Email _pcrockett@rascrane.com




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                                      UNITED STATES BANKRUPTCY COURT
                                        EASTERN DISTRICT OF MICHIGAN
                                              DETROIT DIVISION

Christopher John Standerwick,                                                             BK Case 17-57688-tjt
Debtor.                                                                                   Chapter 13

and

Crystal Dawn Preston-Standerwick,
aka Crystal Dawn Preston
aka Crystal Dawn Standerwick
Joint Debtor.
__________________/


                                           CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that on ____________________________________________________________,
                                          June 5, 2019

I electronically filed the foregoing with the Clerk of Court using the CM/ECF system, and a true and correct copy has
been served via CM/ECF or United States Mail to the following parties:


JAMES P. FREGO, II
FREGO & ASSC.-THE BANKRUPTCY LAW OFFICE
23843 JOY ROAD
DEARBORN HEIGHTS, MI 48127

TAMMY L. TERRY
BUHL BUILDING
535 GRISWOLD
SUITE 2100
DETROIT, MI 48226

CHRISTOPHER JOHN STANDERWICK
3470 YARDLY CT.
STERLING HEIGHTS, MI 48310

CRYSTAL DAWN PRESTON-STANDERWICK
3470 YARDLY CT.
STERLING HEIGHTS, MI 48310

                                                                          RAS Crane, LLC
                                                                          Authorized Agent for Secured Creditor
                                                                          10700 Abbott's Bridge Road, Suite 170
                                                                          Duluth, GA 30097
                                                                          Telephone: 470-321-7112
                                                                          Facsimile: 404-393-1425

                                                                          By: _________________________
                                                                                /s/ Alexis Van Zilen
                                                                               Alexis Van Zilen
                                                                               avzilen@rascrane.com


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